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                                                                                                    FILED
                                  IN THE UNITED STATES DISTRICT COURT                       U.S. DISTRICT COURT
                                     FOR THE DISTRICT OF MARYLAND                         DISTRICT OF ! I\RYL;\ ifJ

                                                                                           lUlZ OCT 18 P 12: l~2
WILLIAM L. BAILEY JR.
10754 CASTLETON TURN
LARGO, MD 20774
                                                                                                    C(.6   ....   "
                             Plaintiff(s)

                vs.                                           *       Civil No.:   R.T 1 2 CV 3 Q 7 ,
VILLAGE GREEN MUTUAL HOMES INC.
7411 VILLAGE GREEN TER
LANDOVER, MD. 20785

JEFFREY CHARLES & ASSOCIATES
6422 GROVES DALE DR
SUITE 201 C
ALEXANDER, VA. 2231

COOK & DEFRANCO LLC
120 EAST BALTIMORE ST
SUITE 1810
BALTIMORE, MD. 21202

                                   Defendant(s)             *
                                                         ******
                                                     COMPLAINT

           1.        Jurisdiction in this case is based on:

                     !Xl    Federal question (42 U.S.C. 3601 et seq.)
                            a.      The defendants due to my religious beliefs discriminated and fraudulently
                            acted to affect a constructive eviction from 1435 Belle Haven Dr., Landover MD.
                            20785.

          2.         The facts of this case are:
                            a.       The defendants conspired to deny fair housing rights as provided for under
                            The Fair Housing Act to William L. Bailey Jr. at the cooperative of Village Green
                            Mutual Homes Inc.at 1435 Belle Haven Dr., Landover Md. 20785.
                            b.       The defendants' actions and activities were done in attempts to thwart The
                            Fair Housing Act because of my religious beliefs and my pursuit of fair housing
                            rights as protected by this act.



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                           c.       The defendants with malice and fore though conspired to use the identity of
                           another individual without their lawful authorization to pursue unlawful activities
                           and to affect the transfer of property.
                           d.       On or about May 14,2010 the property manager for Village Green Mutual
                           Homes Inc. (an employee of Jeffrey Charles & Associates) testified under oath to
                           the Circuit Court of Maryland that the sales office was fully aware that Mrs.
                           Dorothy Bailey no longer resided at 1435 Belle Haven Dr. because Mr. William L.
                           Bailey Sr. informed the office of her departure.
                                    a)      This unintentional testimony given at the Circuit Court level was
                                            contrary to all information provided at the District Court level where
                                           the defendants attested to Mrs. Dorothy Bailey's residency at 1435
                                            Belle Haven Dr.
                                            i)      The defendants in all communications to state and federal
                                            agencies state that Mrs. Dorothy Bailey resided at 1435 Belle Haven
                                           Dr. while all the time knowing that this was a lie.
                                            ii)     The defendants conspired to perjure and did so without
                                           hesitation.
                           e.       On or about September 1992 William L Bailey Sr. informed the cooperative
                           of Village Green Mutual Homes Inc. of Mrs. Dorothy Bailey departure from the
                           cooperative and her request to cease all association with the cooperative.
                           f.       The defendants conspired to and used the US mail, telephone, and internet
                           to promote a fraudulent scheme to defraud me, deny fair housing rights as protected
                           by the Fair Housing Act, retaliate against me because of my pursuit of fair housing
                           rights and to discriminate because of my religious belief.
                           g.       On about May 9, 2009 after many years of discriminatory policies and
                           practices against me at 1435 Belle Haven Dr., I contacted HUD (as I had done a
                           previous year ago but was unable to follow thru at that time on my contact) about
                           the use of Mrs. Dorothy Bailey's name in any regards to 1435 Belle Haven Dr. and
                           the concerns I had about what I believe to be fraudulent and discriminatory
                           activities on the part of the defendants.
                                    a)     I spoke with the supervisor (Jose Nunez) ofHUD at that contact and
                                            informed him of the inappropriateness and fraudulent nature of
                                           activities I believe I was sustaining.
                                    b)     I informed the cooperative of Village Green Mutual Homes Inc.'s
                                            sales office of this contact and informed them that I would pursuing
                                           my fair Housing rights as protected by the Fair Housing Act.
                           h.       On about July 2004 William L Bailey Sr. died. The cooperative of Village
                           Green was informed that Mrs. Dorothy Bailey would not be moving back to the
                           residence of 1435 Belle Haven Dr. by Gladys Bailey Harris Esq. and that William
                           L Bailey Jr. would assume all rights set forth in the by-laws of the cooperative by
                           remaining at the residence.
                           i.       On or about May 15, 2009 at a meeting of section four cooperative
                           members gathered to discuss pros and cons of remaining a cooperative or going
                           condominium. The property manager of Jeffrey Charles & Associates vehemently
                           objected to the topic I brought before the membership about how fair housing rights


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                           play an important role in our decision and made it very clear about her dislike of
                           the fair housing rights program.
                           j.       On about June 5, 2009, while dropping off the monthly carrying charges, I
                           was asked to sign some paperwork. I did not have time to adequately review
                           documents so I respectfully declined. The property manager responded that it
                           really didn't make a difference because she was going to do what she wanted to do
                           anyhow.
                           k.       On or about July 15,2009 the defendants escalated their retaliation and
                           discrimination by submitting communications to the residence for Mrs. Dorothy
                           Bailey response as if she resided at the residence while knowing she had left
                           residence in 1992. When I objected, the defendants further stated that
                           conversations in regards to 1435 Belle Haven Dr. would only be with Mrs. Dorothy
                           Bailey.
                                    a)      This fraudulent scheme embarked upon by defendants was
                                    perpetrated because no subletting of the residence is allowed by the
                                    cooperative by-laws and this particular scheme would also put the residence
                                    in danger because they were fully aware that Mrs. Dorothy Bailey did not
                                    reside there.
                                    b)      The defendants spoke with all of my siblings of which did not reside
                                    at 1435 Belle Haven Dr. and initially would not converse with me, (the only
                                    member of the immediate family residing at premises after my father's
                                    passing). One of them resided in Virginia. The defendants' actions were
                                    violations of my fair housing rights as protected by the Fair Housing Act
                                    and used to thwart that act.
                           1.       On or about October 2009, during the election of board members, I was
                           barred from participation of that activity as well as any other cooperative business
                           or meetings.
                                    a)       Other cooperative members were informed of this bar. It was
                                    further used by the defendants as an insinuating threatening tool and to
                                    exhibit their ability and willingness to totally disregard by-law of the
                                    cooperative and laws of the land.
                           m.       The defendants conspired and did carry unethically and illegally Mrs.
                           Dorothy Bailey on the books of Village Green Mutual Homes Inc. without here
                           authorization and against her express request of no association with the
                           cooperative. The defendants had full and complete knowledge of this request.
                           n.       On or about June 17, 2010 a complaint was filed with HUD in an attempt to
                           address the fraudulent activities, the discrimination/retaliations and total disregard
                           for the by-laws of the cooperative and the United States' law due to my religious
                           beliefs.
                           o.       On or about October 25, 2010 after receiving information from Maryland
                           Commission on Human Relations, I further attempted ascertain how the certificate
                           of membership for the cooperative was being transferred without my authorization.
                           I am the owner of any membership for 1435 Belle Haven Dr., Landover Md.
                           20785.



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          3.        The relief! want the court to order is: a Jury Trial

          GJ        Damages in the amount of: $1,000,000 from each defendant (total $3,000,000).




                                                                    (Signature)

                                                           WILLIAM L BAILEY JR.
                                                           10754 CASTLETON TURN
                                                           LARGO, MD. 20774
                                                           301 693 7114

                                                            Plaintiff)




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